 1   Joseph E. Cotterman (Bar No. 013800)
     5232 West Oraibi Drive
 2   Glendale, Arizona 85308
     Telephone: (480) 353-0540
 3   Cottermail@cox.net
     SubChapter V Trustee
 4
 5
 6                    IN THE UNITED STATES BANKRUPTCY COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8
 9
                                                       In Proceedings under Chapter 11
       In re:                                          Subchapter V
10
       Moab Brewers, LLC,                              Case No. 2:24-bk-00635-BMW
11
                               Debtor.                 NOTICE OF APPEARANCE
12
13
14          PLEASE TAKE NOTICE that I, Joseph E. Cotterman, hereby make my

15   appearance as Subchapter V Trustee in the case captioned above, and request that all

16   notices and papers required to be delivered or served on me be directed to:

17                                      Joseph E. Cotterman
18                                    5232 West Oraibi Drive
                                      Glendale, Arizona 85308
19                                      Cottermail@cox.net
20          I prefer and request service by email unless another form of service is specifically
21   required by any applicable statute, rule, or court order. This request encompasses all
22   notices, pleadings, orders, and other papers or matters of record that affect the estate
23   created under Title 11 of the United States Code and the Bankruptcy Rules.
24
            Dated: January 30, 2024.
25
                                         /s/                             SBN 013800
26
                                         Joseph E. Cotterman
27
28



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